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IN RE: OIL SPILL by “Deepwater Horizon”

air ® DIRECT FILING SHORT FORM"

4 ‘Kuthorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
[Copies of said Order having also been filed in Civil Actions No. 10-8883 and 10-2771)

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2179..." SECTION: J JUDGE CARL BARBIER

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md 2179).

| Last Name : First Name - Middle Name/Maiden : Suffix
ae SANH CHARLIE :
65) 82-7633 (409) 460-6401 : E-Mail Address

ot LEWIS DR SBR F ARTHUR at 77642

BUSINESS CLAIM»

SERRNTRRAN oe Business Name
DECKAANE’ ' Type of Business

{335 INDIAN AUTUMN TRACE Adress

HOueGn , TX 77062 City / State / Zip

os digits of your Social Security Number _ Last 4 digits of your Tax ID Number a
Afto Nam . El
UOREN'G. KLITSAS KCITSAS & VERCHER, P.C.
550 WESTCOTT STE STE 570 HOUSTGN, Tx 77007
(713) 862-1365 KL SAS@kV-LAW.COM
Claim filed with BP? Yes O NO : Claim Filed with GCCF?: YES NO
If yes, BP Claim Na.: : If yes, Claimant Identification No.1 172047

Claim Type (Please chack all that apply):

| | Damage or destruction te real or personal property Fear of Future Injury and/or Medical Manitoring
Earmings/Profit Loss Loss of Subsistence use of Natural Resources
| Personal Injury/Death Removal and/or clean-up costs

Other:

1 This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in C.4. No. 10-8888 shall be deemed to be simultaneously filed in CA. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

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The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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| 1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims

: involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

: MR. NGUYEN WORKS AS A DECKHAND ON A COMMERCIAL SHRIMPING VESSEL. HE

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Brief Description:

LOUISIANA BOTH, THE AVAILABILITY AND THE DEMAND FOR FRESH SEAFOOD FROM

REDUCED. HE HAS SUFFEREDA LOSS IN WAGES/EARNINGS DUE TO THE SPILL.

2, For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

NIA

- 3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your

employer, and where you were working.

NWA

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Please check the box(es} below that you think apply to you and your claims:

Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fish ing, shrimping,
crabbing or oystering.

oO 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

CJ 3. Recreational business owner. operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who eam their living through the use of the Gulf of Mexico,

CJ 4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

Ol 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
Ol 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator,

CJ 7 Owner, lessor, or jessee of real propert y alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

Oo 8. Hotel owner and operator, vacation rental awner and agent, or all those whe eam their living from the tourism industry.
LJ 9. Bank, financial institution, or retail business that suffered losses as a result of the spill.

Oo 10, Person whe utilizes natural resources for subsistence.

(J 11. Other:
Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
CT 1. Boat captain or crew involved in the Vessels of Opportunity program.

CJ 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

CO 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-expiesion clean-up activities.

EF] 4, Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
Fl 5. Resident who fives or works in close proximity to coastal waters.

(16. Other:

Both BP and the Gulf Coast Claim s Facility (“GCCF”} are hereby authorized to relea se to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

ClaimgarerSuertey Signature

LOREN G. KLITSAS

Print Name

loli

Date

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The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of 2 Plaintiff to file a Plaintiff Profile Form.

